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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


                                               )
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                                               )
                                               )
  In re: Real Estate Commission Litigation         MDL No. 3100
                                               )
                                               )
                                               )



         RESPONSE OF DEFENDANTS AT WORLD PROPERTIES, LLC,
   CHRISTIE’S INTERNATIONAL REAL ESTATE, LLC, AND ANSLEY ATLANTA
  REAL ESTATE, LLC IN SUPPORT OF TRANSFER OF ACTIONS TO NORTHERN
       DISTRICT OF ILLINOIS FOR COORDINATED OR CONSOLIDATED
           PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407




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                                             Counsel for Defendants At
                                             World     Properties,    LLC,
                                             Christie’s International Real
                                             Estate, LLC, and Ansley
                                             Atlanta Real Estate, LLC




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        In response to the Motion of Plaintiffs for Transfer of Actions to the Western District of

Missouri Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial Proceedings (ECF

1-1), Defendants At World Properties, LLC, Christie’s International Real Estate, LLC, and Ansley

Atlanta Real Estate, LLC (the “Undersigned Defendants”) support the centralization process

described in the Response of Defendant National Association of Realtors® in Support of Transfer

of Actions to Northern District of Illinois for Coordinated or Consolidated Pretrial Proceedings

Pursuant to 28 U.S.C. § 1407 (“NAR’s Response”) (ECF 196).

        Specifically, for the reasons stated in NAR’s Response, the Undersigned Defendants

support the centralization of the related actions—as listed in Exhibit 1 of NAR’s Response (ECF

196-1)—in the Northern District of Illinois. The Undersigned Defendants hereby incorporate the

arguments of NAR’s Response as though fully stated herein.1

        In addition to the arguments made in NAR’s Response, the Undersigned Defendants note

that, like NAR, they too are headquartered in the Northern District of Illinois, which further

supports centralization there. See Umpa Compl. ¶ 39 (ECF 1-7) (“At World Properties, LLC d/b/a

@properties Christie’s International Real Estate is incorporated in Illinois with its headquarters in

Chicago, Illinois.”); see also In re Live Concert Antitrust Litig., 429 F. Supp. 2d 1363, 1364

(J.P.M.L. 2006) (citing location of defendants’ headquarters as factor supporting selection of

transferee district).




1 For the March and Friedman cases identified in NAR’s Response, Christie’s International Real
Estate, LLC (“CIRE”) should not have been named as a defendant. CIRE anticipates that it will
be dismissed or substituted in for a different entity before the ruling on the Motion of Plaintiffs for
Transfer of Actions to the Western District of Missouri. Therefore, CIRE neither consents nor
opposes consolidation of the March and Friedman cases.

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        Thus, for the reasons stated above and in NAR’s Response, the Panel should centralize the

related actions—as listed in Exhibit 1 of NAR’s Response (ECF 196-1)—in the Northern District

of Illinois, or, if the Panel is not inclined to do so, in the Eastern District of Texas.

 Dated: January 26, 2024                         Respectfully submitted,

                                                 /s/ Robert J. Palmersheim
                                                 Robert J. Palmersheim
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                                                 Chicago, IL, 60606
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                                                 Fax: (312) 701-9335
                                                 Email: rpalmersheim@honigman.com

                                                 Counsel for Defendants At World Properties, LLC,
                                                 Christie’s International Real Estate, LLC, and
                                                 Ansley Atlanta Real Estate, LLC




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                             BEFORE THE UNITED STATES
                    JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

                                                    )
                                                    )
 In re: Real Estate Commission Litigation           )
                                                    )      MDL No. 3100
                                                    )
                                                    )



                                   CERTIFICATE OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel

of Multidistrict Litigation, I hereby certify that on January 26, 2024, I filed the Response of

Defendants At World Properties, LLC, Christie’s International Real Estate, LLC, and Ansley Atlanta

Real Estate, LLC in Support of Transfer of Actions to Northern District of Illinois for Coordinated or

Consolidated Pretrial Proceedings Pursuant to 28 U.S.C. § 1407 with the Clerk of the Court through

the CM/EMF system, which will send notification of such filing to all counsel of record who are

registered as CM/EMF users and have entered an appearance.

       I further certify that on January 26, 2024 a copy of the above-referenced document was

mailed by first class mail to the following parties who have not entered an appearance:


       Western District of Missouri

       Defendant: Weichert Realtors
       W.D. Mo. No. 4:23-cv-00945
       1625 Route 10 East
       Morris Plains, New Jersey 07950

       Defendant: United Real Estate
       W.D. Missouri, No. 4:23-cv-00945
       5430 Lyndon B. Johnson Freeway, Suite 270
       Dallas, Texas 75240
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Defendant: Keller Williams Realty, Inc.
W.D. Mo. No. 4:23-cv-00945
1221 South Mopac Expy, Suite 400
Austin, TX 78746

Defendant: Hanna Holdings, Inc.
W.D. Missouri, No. 4:23-cv-00945
1090 Freeport Rd Ste 1A
Pittsburgh, PA, 15238-3166

Defendant: Redfin Corporation
W.D. Missouri, No. 4:23-cv-00945
1099 Stewart St Ste 600
Seattle, WA 98101

Defendant: Douglas Elliman, Inc.
W.D. Missouri, No. 4:23-cv-00945
575 Madison Avenue
New York, NY 10022

Defendant: Douglas Elliman Realty LLC
W.D. Missouri, No. 4:23-cv-00945
575 Madison Avenue, Suite 400
New York, NY 10022

Defendant: Real Brokerage, Inc.
W.D. Missouri, No. 4:23-cv-00945
100 King Street West, Suite 1600
Toronto, A6 M5X 1G5
Ontario, Canada

Defendant: Real Broker, LLC
W.D. Missouri, No. 4:23-cv-00945
100 King Street West, Suite 1600
Toronto, A6 M5X 1G5
Ontario, Canada

Defendant: Realty ONE Group, Inc.
W.D. Missouri, No. 4:23-cv-00945
23811 Aliso Creek Rd., Suite 168
Laguna Niguel, California 92677

Defendant: National Association of Realtors
W.D. Missouri, No. 4:23-cv-00945
430 Michigan Avenue
Chicago, Illinois 60611-4087

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Defendant: Compass, Inc.
W.D. Missouri, No. 4:23-cv-00945
503 Westlake Avenue
Seattle, WA 98109

Southern District of New York

 Defendant: Elegran Real Estate, d/b/a Elegran LLC
S.D.N.Y. No. 1:23-cv-09995
1407 Broadway, 26th Floor, New York, New York 10018

Defendant: Homesnap Inc.
S.D.N.Y. No. 1:23-cv-09995
1331 L St NW, Washington, D.C., 20005

Defendant: Modern Spaces
S.D.N.Y. No. 1:23-cv-09995
10-27 46th Avenue, Floor 4,
Long Island City, New York 11101

Defendant: Elegran Real Estate, d/b/a Elegran LLC
S.D.N.Y. No. 1:23-cv-09995
152 West 57th Street, 18th Floor,
New York, New York 10019

Eastern District of Texas

Defendant: The Loken Group, Inc.
E.D. Texas, No. 4:23-cv-01013
19708 Northwest Freeway, Suite 2800
Houston, Texas 77065

Defendant: ABRE Capital LLC
E.D. Texas, No. 4:23-cv-01013
10601 Clarence Dr., Ste. 250 Frisco, TX 75033

Defendant: The Michael Group LLC
E.D. Texas, No. 4:23-cv-01013
10300 N Central Expressway, Suite 220
Dallas, Texas, 75231

Defendant: Houston Association of Realtors, Inc.
E.D. Texas, No. 4:23-cv-01104
3693 Southwest Freeway
Houston, Texas, 77027


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Defendant: Houston Realtors Information Service, Inc.
E.D. Texas, No. 4:23-cv-01104
Registered Agent, Grant P. Harpold
2229 San Felipe Suite 1000
Houston, TX 77019

Defendant: ABRE Capital LLC
E.D. Texas, No. 4:23-cv-01104
10601 Clarence Dr., Ste. 250
Frisco, TX 75033

Defendant: The Michael Group LLC
E.D. Texas, No. 4:23-cv-01104
10300 N Central Expy 220
Dallas, Texas, 75231

Defendant: Real Agent LLC
E.D. Texas, No. 4:23-cv-01104
13785 Research Blvd. Suite 125
Austin, TX 78750

Defendant: RFT Enterprises, Inc.
E.D. Texas, No. 4:23-cv-01104
Registered Agent, Roxann F. Taylor
640 N Carroll Ave Suite 100
Southlake, TX 76092

Defendant: ATC Metro Properties, Inc.
E.D. Texas, No. 4:23-cv-01104
Registered Agent, Timothy Bryant Teas
14725 S. Padre Island Drive
Corpus Christi, TX 78418

Northern District of Georgia

Defendant: Homesmart Holdings
N.D. Georgia, No. 1:23-cv-05392-SEG
8388 E Hartford Dr Suite 100
Scottsdale, AZ 85255

Defendant: Solid Source Realty
N.D. Georgia, No. 1:23-cv-05392-SEG
10900 Crabapple Rd
Roswell, Georgia, 30075



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Defendant: Palmerhouse Properties, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
2911 Piedmont Rd NE Ste B
Atlanta, Georgia, 30305

Defendant: Weichert of North America, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
225 Littleton Rd, Morris
Plains, NJ, 07950

Defendant: ERA Franchise Systems, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
76 Park Ave,
Madison, New Jersey, 07940

Defendant: eXp World Holdings, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
2219 Rimland Dr Ste 301
Bellingham, Washington, 98226-8759

Defendant: Beacham & Company, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
3060 Peachtree Rd NW Ste 100
Atlanta, Georgia, 30305

Defendant: Higher Tech Realty, LLC d/b/a Mark Spain Real Estate
N.D. Georgia, No. 1:23-cv-05392-SEG
12600 Deerfield Pkwy Ste 450
Alpharetta, Georgia, 30004

Defendant: Hamilton Dorsey Alston Company, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
4401 Northside Pkwy Ste 400
Atlanta, GA, 30327

Defendant: Engel & Volkers Americas, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
430 Park Ave 11TH Fl
New York City, New York, 10022

Defendant: Engel & Volkers Atlanta
N.D. Georgia, No. 1:23-cv-05392-SEG
1745 Peachtree Street NE, Suite T
Atlanta, GA 30309



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Defendant: Tracey Cousineau Real Estate, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
1755 N Brown Rd Ste 110
Lawrenceville, Georgia, 30043

Defendant: Bolst, Inc. d/b/a The Justin Landis Group
N.D. Georgia, No. 1:23-cv-05392-SEG
581 Grant St SE # B7
Atlanta, Georgia, 30312

Defendant: Chapman Hall Realtors, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
6100 Lake Forrest Drive Suite 120
Atlanta, GA 30328

Defendant: Signature Properties Group, Inc.
N.D. Georgia, No. 1:23-cv-05392-SEG
600 Sea Island Rd. ST.
Simons Island, Georgia 31522

Defendant: Greater Atlanta Real Estate Group, LLC d/b/a Maximum One Realty
N.D. Georgia, No. 1:23-cv-05392-SEG
5041 Dallas Hwy Bldg. 7-700
Powder Springs, GA 30127-6462

Defendant: Sanders Realty Holdings, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
625 Molly Ln
Woodstock, Georgia 30189

Defendant: Method Real Estate Group, LLC d/b/a Method Real Estate Advisors
N.D. Georgia, No. 1:23-cv-05392-SEG
1792 Woodstock Rd Ste 100
Roswell, Georgia, 30075

Defendant: Path & Post, LLC d/b/a Path & Post Real Estate
N.D. Georgia, No. 1:23-cv-05392-SEG
214 River Park N Drive
Woodstock, GA 30188

Defendant: Duckworth Properties, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
3441 Cypress Mill Rd Ste 203
Brunswick, Georgia, 31520



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Defendant: AF Realty Group, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
760 Commerce St.
Perry, GA 31069

Defendant: Greater Atlanta Realty Holdings Corporation d/b/a Maximum One
Realty
N.D. Georgia, No. 1:23-cv-05392-SEG
1355 Terrell Mill Rd, Bldg 1464
Marietta, GA 30067

Defendant: Atlanta Communities Real Estate Brokerage, LLC
N.D. Georgia, No. 1:23-cv-05392-SEG
3113 Roswell Rd Ste 101
Marietta, Georgia, 30062

Western District of Pennsylvania

Defendant: Everest Consulting Group LP d/b/a Berkshire Hathaway
HomeServices The Preferred Realty
W.D. Penn. No. 2:23-cv-02061
1002 E Pittsburgh St
Greensburg, PA, 15601

Defendant: NRT Philadelphia LLC d/b/a Coldwell Banker Realty
W.D. Penn. No. 2:23-cv-02061
175 Park Ave
Madison, New Jersey, 07940

Defendant: PPSIR, LLC d/b/a Piatt Sothebys International Realty
W.D. Penn. No. 2:23-cv-02061
9101 Foxhunt Rd 9101 Foxhunt Rd
Pittsburgh, Pennsylvania, 15237

Defendant: PIRAIN Enterprises, Inc. d/b/a NextHome PPM Realty
W.D. Penn. No. 2:23-cv-02061
1308 Peermont Avenue
Pittsburgh, PA, 15216

Northern District of California

Defendant: Keller Williams Realty, Inc.
N.D. California, No. 4:23-cv-06352
1221 South Mopac Expy, Suite 400
Austin, TX 78746


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     Defendant: Compass, Inc.
     N.D. California, No. 4:23-cv-06352
     503 Westlake Avenue N
     Seattle WA 98109

    Defendant: eXp World Holdings, Inc
    N.D. California, No. 4:23-cv-06352
    2219 Rimland Dr Ste 301
    Bellingham, Washington, 98226-8759


Dated: January 26, 2024                       Respectfully submitted,




                                              By: /s/ Robert J. Palmersheim
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                                                 Properties, LLC, Christie’s
                                                 International Real Estate, LLC, and
                                                 Ansley Atlanta Real Estate, LLC




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